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 9
10                              UNITED STATES DISTRICT COURT
11                                       DISTRICT OF IDAHO
12
13   EUGENE SCALIA , SECRETARY OF LABOR,                  )   Case No.: 4:20-cv-371
14   UNITED STATES DEPARTMENT OF LABOR,                   )
                                                          )
15                         Petitioner,                    )
                   v.                                     )
16                                                        )    MEMORANDUM OF POINTS AND
     GEORGE KATSILOMETES,                                 )    AUTHORITIES IN SUPPORT OF
17                                                        )
                                                               THE SECRETARY’S PETITION TO
                           Respondent.                    )
18                                                        )    ENFORCE ADMINISTRATIVE
                                                          )    SUBPOENA DUCES TECUM
19                                                        )
                                                          )
20                                                        )
                                                          )
21                                                        )
                                                          )
22
23                         MEMORANDUM OF POINTS AND AUTHORITIES
24          Petitioner, EUGENE SCALIA, Secretary of Labor, United States Department of Labor
25   (“Secretary”), brings this Petition to compel Respondent GEORGE KATSILOMETES,
26   (“Respondent”) to comply with an administrative Subpoena Duces Tecum issued and directed to
27   Respondent by the Regional Administrator of the Wage and Hour Division of the United States
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     Department of Labor (“Wage and Hour”) in an investigation conducted under the Fair Labor


     MEMORANDUM OF POINTS AND AUTHORITIES                                                1
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 1   Standards Act of 1938, as amended, 29 U.S.C. § 201-219 (“FLSA”). The Secretary submits this
 2   Memorandum in support of his Petition.
 3                                   I.      FACTUAL BACKGROUND
 4          Michelle Phillips, Assistant District Director of the Boise Field Office, Wage and Hour
 5   Division, United States Department of Labor opened an investigation of Lava Hot Springs Inn
 6   LLC dba Lava Hot Springs (“Lava Hot Springs Inn”) on or around April 20, 2020 to determine
 7   whether Respondent or any person operating on Respondent’s premises had violated the FLSA
 8   or any of its implementing regulations. See Phillips Decl. at ¶ 1.
 9          On April 28, 2020, Ruben Rosalez, the Wage and Hour Regional Administrator, issued
10   an administrative Subpoena Duces Tecum directed to Respondent. Rosalez Decl., ¶ 2. A true
11   and correct copy of the Subpoena Duces Tecum and Proof of Service are attached to the Petition
12   as Exhibits 1 and 2, respectively. Wage and Hour served the Subpoena on Respondent on April
13   28, 2020. Phillips Decl. at ¶ 5. The Subpoena required Respondent to appear at the Wage and
14   Hour office in Boise, Idaho, on May 5, 2020, and to produce documents related to the workers,
15   potential child labor practices, and pay practices at the Lava Hot Springs Inn. Rosalez Decl. at ¶
16   2; Phillips Decl. at ¶ 5. The Subpoena permitted Respondent to produce the documents via email
17   to Michelle Phillips in lieu of an appearance at the Wage and Hour office. Rosalez Decl. at ¶ 2;
18   Phillips Decl. at ¶ 5. Respondent did not appear on the date set by the Subpoena, nor did he
19   produce any documents, neither by email or any other means. Phillips Decl. at ¶¶ 6-7.
20            To date, Katsilometes has not provided any documents in response to the Subpoena and
21   thus the Wage and Hour Division cannot complete its FLSA investigation. Rosalez Decl. at ¶¶
22   3-4; Phillips Decl. at ¶ 9; Magness Decl. at ¶ 3.
23
24                                           II.     ARGUMENT

25      A. The Secretary meets the requirements for enforcement of an administrative
           subpoena.
26
27          As the Supreme Court held over 60 years ago, administrative subpoenas play a critical

28   role in enabling the Secretary of Labor to carry out his congressionally mandated duty to conduct



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 1   investigations of possible FLSA violations. Oklahoma Press Publishing Co. v. Walling, 327
 2   U.S. 186, 199-201 (1946). The Court emphasized that the purpose of such a subpoena is “to
 3   discover and procure evidence, not to prove a pending charge or complaint, but to make one, if,
 4   in [Wage and Hour]'s judgment, the facts thus discovered should justify doing so.” Id. at 201.
 5   Following Oklahoma Press Publishing, federal courts have routinely enforced the Secretary’s
 6   administrative subpoenas issued under the FLSA. See, e.g., Detweiler Bros., Inc. v Walling, 157
 7   F.2d 841, 842-43 (9th Cir. 1946); Tobin v. Banks & Rumbaugh, 20 F.2d 223, 226 (5th Cir.
 8   1953); Durkin v. Fisher, 204 F.2d 930, 933 (7th Cir. 1953); Donovan v. Mehlenbacher, 652 F.2d
 9   228, 230 (2d Cir. 1981). Such enforcement is necessary because “[i]t is beyond cavil that the
10   very backbone of an administrative agency's effectiveness in carrying out the congressionally
11   mandated duties of industry regulation is the rapid exercise of the power to investigate the
12   activities of the entities over which it has jurisdiction . . .” Fed. Mar. Comm’n v. Port of Seattle,
13   521 F.2d 431, 433 (9th Cir. 1975). For this reason, the scope of a judicial inquiry in an
14   administrative subpoena enforcement proceeding is “quite narrow.” Reich v. Montana Sulphur
15   & Chem. Co., 32 F.3d 440, 444 (9th Cir. 1994); see also E.E.O.C. v. St. Regis Paper Co., 717
16   F.2d 1302, 1304 (9th Cir. 1983) (Subpoena enforcement action is a “summary procedure”).
17   Under this narrow inquiry, courts must enforce administrative subpoenas unless “the evidence
18   sought by the Subpoena [is] ‘plainly incompetent or irrelevant’ to ‘any lawful purpose’ of the
19   agency.” Port of Seattle, 521 F.2d at 433 (quoting Endicott Johnson Corp. v. Perkins, 317 U.S.
20   501, 509 (1943)).
21          In this Circuit, an agency establishes a prima facie case for enforcement of an
22   administrative subpoena if it shows that: (1) Congress granted it the authority to investigate; (2)
23   the agency followed the necessary procedural requirements for issuing the Subpoena; and (3) the
24   evidence sought is relevant and material to the investigation. EEOC v. Children's Hosp. Med.
25   Ctr. of N. Cal., 719 F.2d 1426, 1428 (9th Cir.1983) (en banc), overruled on other grounds as
26   recognized in Prudential Ins. Co. of Am. v. Lai, 42 F.3d 1299 (9th Cir.1994). “An affidavit from
27   a government official is sufficient to establish a prima facie showing that these requirements
28
     have been met.” F.D.I.C. v. Garner, 126 F.3d 1138, 1143 (9th Cir. 1997) (citing United States v.


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 1   Stuart, 489 U.S. 353, 360 (1989)).
 2                                                                                              Once the federal agency makes this prima facie showing, the burden shifts to the
 3   respondent to provide compelling reasons why the Subpoena should not be enforced or should be
 4   enforced only in modified form. See United States v. Powell, 379 U.S. 48, 57-58 (1964). To
 5   meet this burden, the respondent must demonstrate that the agency’s request is “unreasonable
 6   because it is overbroad or unduly burdensome.” Children’s Hospital, 719 F.2d at 1428.
 7                                                                                                                                                                                          1.                                                      Wage and Hour’s investigation is within the agency’s congressionally
                                                                                                                                                                                                                                                    delegated authority.
 8
 9                                                                                              The Secretary’s authority to issue subpoenas to determine whether any person has

10   committed a violation of the FLSA is well established. Oklahoma Press Publishing, 327 U.S. at

11   199-201; Detweiler Bros., 157 F.2d at 842-43. Section 11(a) of the FLSA, 29 U.S.C. § 211(a),

12   authorizes the Secretary to investigate and gather data regarding wages, hours, child labor

13   practices, and other conditions and practices of employment in any industry covered by the

14   FLSA. The Wage and Hour Administrator or his delegated representatives may:

15                                                                                              enter and inspect such places and such records (and make such transcriptions
                                                                                                thereof), question such employees, and investigate such facts, conditions, practices,
16                                                                                              or matters as he may deem necessary or appropriate to determine whether any
                                                                                                person has violated any provision of the [FLSA] or which may aid in the
17                                                                                              enforcement of provisions of [the FLSA].
18   29 U.S.C. § 211(a). Under Section 9 of the FLSA, 29 U.S.C. § 209, the Secretary may issue a
19   subpoena to require the production of documentary evidence relating to any matter under
20   investigation.1
21                                                                                              This investigation plainly falls within the scope of Wage and Hour’s authority to
22   investigate FLSA violations. As set forth in the declarations of Wage and Hour’s Regional
23   Administrator Ruben Rosalez and Assistant District Director Michelle Phillips, the agency
24   initiated this investigation to determine whether any person, including Katsilometes, had violated
25   any provision of the FLSA or any of its implementing regulations at the Lava Hot Springs Inn
26   during the period beginning April 23, 2017. Rosalez Decl. at ¶¶ 1-2; Phillips Decl. at ¶ 1. Wage
27   and Hour issued the Subpoena in order to obtain documents necessary to its investigation,
28
     1 29 U.S. C § 2 09 makes the provis ions of section 9 and 1 0 of the Federal Trade Commission Act (“FT CA”), 15 U. S.C. §§ 49, 5 0, applicable to the Secretary ’s powers to cond uct inves tigations un der the FL SA. Section 9 of the FT CA auth orizes the iss uance of subpoenas to o btain d ocumentary evidence and, in the event of no ncompliance, enforcement by a United States district court. 15 U. S.C. § 49.




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 1   including documents that an employer is required to maintain and make available for inspection
 2   by Wage and Hour under the FLSA. Rosalez Decl. at ¶ 5; 29 C.F.R. Part 516. Such an inquiry
 3   is for a purpose lawfully authorized by Congress, and is therefore legitimate and within the
 4   Secretary’s authority.
 5                  2.   Wage and Hour followed the necessary procedural requirements for
                         issuing the Subpoena.
 6
 7          The administrative Subpoena was issued by Ruben Rosalez, Wage and Hour’s Regional

 8   Administrator. Regional Administrator Rosalez is, and at all relevant times has been, authorized

 9   to issue administrative subpoenas under the FLSA by delegation of authority from the Secretary

10   of Labor. Rosalez Decl. at ¶¶ 1-2; Secretary’s Order 5-2010, 75 Fed. Reg. 55,352, 55,354 (Sept.

11   10, 2010). The Subpoena was properly served upon Respondent. Phillips Decl. at ¶5. Thus, the

12   agency followed the appropriate procedures in issuing the Subpoena.
                    3.   The documents sought are relevant and material to Wage and Hour’s
13
                         investigation.
14
            Section 11 of the FLSA specifically authorizes the Wage and Hour Administrator to
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     conduct investigations “as he may deem necessary or appropriate to determine whether any
16
     person has violated any provision” of the FLSA. 29 U.S.C. § 211(a). Thus, “the only limitation
17
     upon the scope of [Wage and Hour]’s inquiry is that the records demanded be reasonably
18
     relevant to . . . the inquiry of whether or not the Fair Labor Standards Act has been violated.”
19
     Detweiler Bros., 157 F.2d at 843; see also Donovan v. Nat’l Bank of Alaska, 696 F.2d 678, 684
20
     (9th Cir. 1983) (applying the same standard of relevance to the “similar provisions” of the
21
     Employee Retirement Income Security Act).
22
            The information Wage and Hour seeks through issuance of the Subpoena easily satisfies
23
     this relevancy standard. The documents requested in the Subpoena are necessary for Wage and
24
     Hour to determine whether Lava Hot Springs Inn is operating in compliance with the FLSA’s
25
     wage, recordkeeping and child labor provisions. Rosalez Decl. at ¶ 3; Phillips Decl. at ¶ 9. The
26
     Subpoena seeks to determine the identity of all possible employees, employers, hours worked by
27
     those employees, and rates of pay. Financial records enable Wage and Hour to confirm the
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 1   accuracy of other records maintained by the employer. All of this information is critical to
 2   completing any investigation into possible FLSA violations.
 3          Because the requested documents are not “‘plainly incompetent or irrelevant to any
 4   lawful purpose’” of the agency, the Court should enforce the Subpoena. See Children’s
 5   Hospital, 719 F.2d at 1429 (quoting Endicott Johnson Corp., 317 U.S. at 509).
 6      B. Respondent cannot show that the Subpoena is overbroad or unduly burdensome.
 7          Respondent cannot sustain its heavy burden of demonstrating that Wage and Hour’s
 8   request is overbroad or unduly burdensome. See Id. at 1428. The subpoenaed records are
 9   tailored to determine whether Respondent is in compliance with the FLSA. Indeed, a substantial
10   portion of the requested records must be maintained by an employer under the FLSA’s
11   implementing regulations. For example, employers subject to the FLSA must maintain payroll
12   records for three years. 29 C.F.R. § 516.5. Further, as discussed above, all of the documents
13   requested in the Subpoena will directly assist Wage and Hour in determining whether “any
14   person” has violated the FLSA. The requests are specifically limited in scope to the time period
15   beginning April 23, 2017 and continuing through the date of production.
16                                               CONCLUSION
17
            For these reasons, the Secretary respectfully requests that, after affording Respondent
18
     George Katsilometes an opportunity to appear and show cause why an enforcement order should
19
     not issue, the Court enter an order enforcing the Subpoena.
20
21                                                       Respectfully submitted,
22   Dated: July 24, 2020                                KATE S. O’SCANNLAIN
23                                                       Solicitor of Labor

24                                                       JANET M. HEROLD
                                                         Regional Solicitor
25
26                                                       SUSAN SELETSKY
                                                         Wage and Hour Counsel
27
                                                         ANDREW J. SCHULTZ
28                                                       Wage and Hour Counsel


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 1                                      By:   /s/ Natasha A. Magness
 2                                            NATASHA A. MAGNESS
                                              Trial Attorney
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